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FOR THE WESTERN DlSTR|CT OF TENNESSEE:, _9_; w m_ ih
WESTERN DlVIS|ON -- - -l

 

UN|TED STATES OF A|VlER|CA,

Plaintiff,
vs. Criminal No. 97-20190-Nla
KENNETH McMULLEN,

Defendant.

 

ORDER GRANTING
UN|TED STATES' REQUEST FOR PSYCH|ATR|C
EXAM|NATION OF DEFENDANT PURSUANT TO
TlTLE 18, UN|TED STATES CODE, SECT|ON 4243

 

This cause came on to be heard this date, upon oral motion ofthe United States,
and upon the entire record in this cause; and

lT SAT|SFACTOR|LY APPEAR|NG TO THE COURT:

1. On July 5, 2002, the District Court entered an order granting a conditional
release of the Defendant. A copy is attached hereto as Exhibit 1.

2. On April 19, 2005, a Petition Was filed by the United States Probation Office
alleging that the Defendant had violated certain conditions of his release, as those
conditions Were set forth in the above-referenced "Order Granting Conditional Release"

(Exhibit1)_

Thls document entered on the docket sheetl co lien
with Hu|e 55 snd/ora.?( (b) FRCrP on ( 52 i fig g[_/__/

 

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3. On Apri| 22, 2005, the Defendant vvas brought, in custody, before United
States l\/lagistrate Judge Tu f\/l. Pham, Defendant then being represented by court
appointed counsell pursuant to Title 18, United States Code, Section 4243(g).

4. The United States, based upon information concerning the defendants
conduct, as contained in the aforesaid Probation Officer's Petition, moved the Court foran
order requiring further psychiatric and psychological examinations be conducted, regarding
the Defendant.

5. Title 18, United States Code, Section 4243(g) provides that the Court shall
conducta hearing to determine “Whether [the Defendant] should be remanded to a suitable
facility on the ground that, in light of his failure to comply With the prescribed regimen of
medicall psychiatric, or psychological care ortreatment, his continued release Would create
a substantial risk of bodily injury to another person or serious damage to property of
another." These examinations are needed in order to assist the Court in making an
informed decision as required by Section 4243(g).

6. The above-referenced motion of the United States should be granted, for
good cause shown;

|T |S THEREFORE ORDERED:

1. Pursuant to Title 18, United States Code, Sections 4243, the defendant,
KENNETH lVlcl\/lULLEN is remanded to the custody ofAttorney General, to be transported
forthwith to the United States Nledica| Centerfor Federa| Prisoners in Springfield, l\/lissourir

and to remain at said l\/ledical Center for a period not to exceed forty-five (45) days.

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2. During the abovesaid period of time, psychiatric and psychological
examinations shall be conducted, regarding this defendant, and a report filed with the

Court, pursuant to the provisions of Section 4247(b) and (c).

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ENTER THlS 62 7 DAY OF NIAY, 2005.

/@/M/)Lc, 76 jaywa
TU~M-PHAM-

United States Magistrate Judge

    

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- ll‘APRlL R.Goo E

W Assistant Federa| Defender
f Attorney for the Defendant

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 51 in
case 2:97-CR-20190 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

PDA

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Honorable Samuel Mays
US DISTRICT COURT

